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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

                                            )      CASE NO: 4:99cr3043
UNITED STATES OF AMERICA                    )
               Plaintiff,                   )            ORDER
                                            )      TO WITHDRAW EXHIBITS
              vs.                           )      OR TO SHOW CAUSE WHY
                                            )      EXHIBITS SHOULD NOT BE
                                            )           DESTROYED
MARKHAM DESHAY JONES,                       )
             Defendant.                     )


       Pursuant to NECivR 79.1(f) or NECrimR 55.1(g), counsel for defendant, Markham

Deshay Jones, shall either 1) withdraw the following exhibits previously submitted in this

matter within 10 business days of the date of this order, or 2) show cause why the exhibits

should not be destroyed:

              Exhibit number(s): 101 and 102

              Hearing type(s): Violation of Probation

              Date of hearing(s): 7/2/01

       If counsel fails to withdraw these exhibits as directed or to show cause why the

exhibits should not be destroyed, the clerk’s office is directed to destroy the listed exhibits

without further notice to the parties or order from the court.

       IT IS SO ORDERED.

       February 14, 2007.



                                                   s/ Warren K. Urbom
                                                   United States Senior District Judge
